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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Newport News Division

SANCHEZ BLAISE, individually                        )
and on behalf of all others similarly               )
situated,                                           )
        Plaintiffs,                                 )
                                                    )
                 v.                                 )                 Civil Action No. 4:21cv002 (RCY)
                                                    )
THE RECEIVABLE MANAGEMENT                           )
SERVICES LLC, et al.,                               )
     Defendants.                                    )
                                                    )

                                        MEMORANDUM OPINION

         This matter is before the Court on                    s Motion to Dismiss (ECF No. 5). Defendant

                                                             lack of jurisdiction and failure to state a claim

pursuant to Rules 12(b)(1) and (6) of the Federal Rules of Civil Procedure. The motion has been fully

briefed, and the Court dispenses with oral argument because the facts and legal contentions are

adequately presented in the materials before the Court, and oral argument would not aid in the

decisional process. E.D. Va. Loc. Civ. R. 7(J). For the reasons stated below, the Motion to Dismiss

will be granted without prejudice.

                                              I. BACKGROUND

         This is a purported class action filed pursuant to the Fair Debt Collection Practices Act

                       ) and Rule 23 of the Federal Rules of Civil Procedure. Plaintiff Sanchez Blaise

                           ) filed a complaint against Defendant The Receivable Management Services,

LLC (                              and twenty-                       Defendants1 on January 4, 2021. (Compl.,




1

for the purpose of substituting names of Defendants whose identities will be disclosed in discovery and should be made
parties to th
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ECF No. 1.) Blaise brings three claims against RMS under the FDCPA: violations of 15 U.S.C. §§

1692e (Count One), 1692f (Count Two), and 1692g (Count Three). (Id. ¶¶ 41-55.)2

         Blaise incurred a purported obligation to Progressive Garden State Insurance Company



Defendant to collect on the debt. (Id. ¶¶ 21-25.) On January 18, 2020, Defendant sent a collection

                       Plaintiff, attached as Exhibit A to the complaint. (Id. ¶ 27; Compl. Ex. A, ECF

No. 1-2.)3                                                                                 -

U.S.C. § 1692g. (Compl. ¶¶ 28-29.) However, Plaintiff alleges that two sentences at the end of the

Letter overshadow the G-Notice because they are allegedly false, deceptive, and misleading, thereby

violating the FDCPA. (Id. ¶¶ 29-34.) These sentences read:

         A negative credit report reflecting on your credit record may be submitted to a credit
         reporting agency if you fail to fulfill the terms of your credit obligation. We will not
         submit a negative credit report until after 45 days have passed from the date of this
         letter and will not submit such a report if we receive notice that you dispute the
         obligation.

(Id. ¶ 30; Compl. Ex. A.) Plaintiff asserts that this text creates the implication that if Plaintiff simply

disputed the debt, Defendant would never file a negative report to a credit reporting agency. (Compl.

¶¶ 30-36.) Plaintif

                                                                Id. ¶ 33.)

         Plaintiff alleges that these two sentences overshadowed the notice required by the FDCPA,

                             to an informational injury as he was not able to fully ascertain his statutory

           Id.                                            imminent risk of harm in that he was provided with

false information about the alleged debt which prevented him from making reasonable decisions


2
  Plaintiff asserts, and Defendant does not appear to contest, that Defendant is a debt collector subject to the Fair Debt
Collection Practices Act. (Compl. ¶¶ 8-9.)
3
  The Court can consider Exhibit A for purposes of
was incorporated into the complaint by reference. See Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322
(2007) (citing 5B Wright & Miller § 1357 (3d ed. 2004 and Supp. 2007)).
                                                            2
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                                   Id.                                                                  Id.

¶ 40.) Plaintiff makes no further allegations about the L

allege that he suffered any concrete physical or economic harm as a result of the Letter, nor does he

allege whether he submitted a dispute of the obligation or whether the language in the Letter impacted

his conduct with regard to the obligation.

        Plaintiff brings this action as a purported class action under Rule 23, and he seeks certification

of the following class:

        a. all individuals with addresses in the State of Virginia;
        b. to whom Defendant RMS sent an initial collection letter attempting to collect a
        consumer debt;
        c. which letter stated that if Defendant RMS receives notice of a dispute, they will not
        submit any negative credit reporting;
        d. which letter was sent on or after a date one (1) year prior to the filing of this action
        and on or before a date twenty-one (2l) days after the filing of this action.

(Id. ¶ 12.) Plaintiff seeks actual and statutory damages, as well as costs,                           - and

post-judgment interest on behalf of himself and the purported class. (Id. ¶11.) Plaintiff demands a

trial by jury. (Id. ¶ 56.)

        On February 3, 2021, Defendant filed a Motion to Dismiss that seeks to dismiss the complaint

in its entirety pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure. (ECF

No. 5.) Defendant asserts that Plaintiff has not sufficiently alleged Article III standing to give the

                                                                                                       Id.)



             n, ECF No. 10.) Defendant filed a Reply on February 23, 2021. (Reply, ECF No. 11.)

                                      II. MOTION TO DISMISS

                                                               in its entirety pursuant to Rules 12(b)(1)

and (6) of the Federal Rules of Civil Procedure. (ECF No. 5.)

rationales. First, Defendant argues that Plaintiff failed to

                                                    3
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the Court jurisdiction over the case under Article III of the Constitution. (Mem. Supp., at 2, 4-6, ECF

No. 6.) Defendant alternatively argues that even if Plaintiff has standing, Defendant did not violate

the FDCPA because the Letter fully complied with the Act. (Id. at 12-16.) Defendant argues that the

Letter contained the requisite notices pursuant to 1692g, that the subsequent language did not

overshadow this notice, and that the language in the Letter could not plausibly be construed to be

deceptive. (Id.) Defendant also argues that Count Two, violation of 15 U.S.C. § 1692f, fails as a

matter of law because it is not based on circumstances independent from those alleged in Count One.

(Id. at 15-16.) Plaintiff opposes the motion.

                                     III. LEGAL STANDARDS

       A. Motion to Dismiss Standard Under Rule 12(b)(1)



of subject-                           When a defendant contends that a complaint fails to allege facts

sufficient to support subject matter jurisdiction       a facial challenge



Kerns v. United States, 585 F.3d 187, 192 (4th Cir. 2009). Namely, this includes that the facts alleged

are taken as true and, presumably, must plausibly allege facts sufficient to invoke subject matter

jurisdiction. See id.; Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007)).                                         he party invoking federal jurisdiction

bears the burden of establishing [each element of jurisdiction] . . . with the manner and degree of

evidence required at the successive stages of the litiga        Lujan v. Defs. of Wildlife, 504 U.S. 555,

561(1992) (citations omitted).

       B. Motion to Dismiss Standard Under Rule 12(b)(6)

       Rule 12(b)(6) of the Federal Rules of Civil Procedure allows the Court to dismiss a complaint



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12(b)(6) tests the sufficiency of a complaint; importantly, it does not resolve contests surrounding the

                                                                Republican Party of N.C. v. Martin, 980

F.2d 943, 952 (4th Cir. 1992). Dismissals under Rule 12(b)(6) are generally disfavored by the courts

because of their res judicata effect. Fayetteville Invs. v. Com. Builders, Inc., 936 F.2d 1462, 1471

(4th Cir. 1991). The Federal



defendant fair notice of what the . . . claim is and the grounds upon which              Twombly, 550

U.S. at 555 (omission in original) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)). While the



 detailed

Rule 8(a)(2). Id.                                                                                      -

pleaded allegations are assumed to be true, and the complaint is viewed in the light most favorable to

the plaintiff. Mylan Labs., Inc. v. Matkari, 7 F.3d 1130, 1134 (4th Cir. 1993); see also Martin, 980

F.2d at 952.



                                                                                Iqbal, 556 U.S. at 678

(quoting Twombly, 550 U.S. at 570).

content that allows the court to draw the reasonable inference that the defendant is liable for the

                       Id. (citing Twombly, 550 U.S. at 556).



               Id.

                                                            Id.




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       C. Article III Standing

       Standing to sue under Article III of the Constitution is necessary to maintain an action in



                        Lujan, 504 U.S. at 559-60 (citations omitted). In order to establish Article III

standing, a plaintiff



the conduct complained of [that is] fairly . . . traceable to the chall

                                                                                                       Id. at

560-

bears the burd                                       Id. at 561.

       Often at issue when determining standing is whether the purported injury is sufficiently

                 Spokeo Inc. v. Robins, 136 S. Ct. 1540 (2016), the Supreme Court remanded a Fair

                                                                               er the injury in fact standing

requirement was met, and in doing so, the Court elaborated on what is required to demonstrate a

concrete injury in fact for standing purposes. In explaining the inquiry into whether an intangible

harm can constitute an injur



Spokeo,                                                                                consider whether an

alleged intangible harm has a close relationship to a harm that has traditionally been regarded as

                                                                          Id. (citation omitted). It further

                                     s well positioned to identify intangible harms that meet minimum

                                                                               Id.

       However, Congress does not have un

the Article III standing requirement. The Spokeo

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and elevating intangible harms does not mean that a plaintiff automatically satisfies the injury-in-fact

requirement whenever a statute grants a person a statutory right and purports to authorize that person

                                   Id.

divorced from any concrete harm, and satisfy the injury-in-                                           Id.

(citations omitted). Yet,

                                                   Id.

         The United States Supreme Court expanded on Spokeo and the concreteness requirement in a

case decided earlier this year, TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021). In that case,

which was also brought under the FCRA, the Court held that class action plaintiffs, whose names

were inaccurately recorded by credit reporting agencies as being on a Department of Treasury watch

list but whose information was never disseminated, did not have standing because they did not suffer

any concrete harm stemming from the violation. Ramirez, 141 S. Ct. at 2200. Additionally, the Court

held that the class plaintiffs had not established a concrete injury stemming from formatting errors in

letters they received from the credit reporting agencies. Id. The Court reiterated the inquiry from

Spokeo                                                                                               tain

intangible harms. Id. (citing Spokeo, 136 S. Ct. at 1540).

         The Court again explained that the first inquiry into whether an intangible harm is sufficiently

                                                                                 -law analogue for their

                   Id. at 2204. If there is no such analogue, courts should then turn to Congress, and



and to grant plaintiff a cause of action .         Id. (citing Spokeo, 136 S. Ct. at 1540). However,



                                                                    Id. at 2205 (citations omitted). The

Court then looked to the risk of future harm as a basis for a concrete intangible injury and concluded

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           Id. at 2211-12. Finally, in rejecting an argument that asserted informational injuries were

sufficient, the Court explained that the case did not involve a public-disclosure law that would elevate

                                                                                            receive the

require information. Id. at 2214 (internal citation and quotation marks omitted). Ultimately, the



             Id. (internal citation and quotation marks omitted).

       Thus, the Ramirez Court expanded on Spokeo in explaining that the jurisdictional requirement

of a concrete injury in fact cannot be ignored.                                 [f]ederal courts do not

possess a roving commission to publicly opine on every legal questi            Id.

                                                                                           Id. (quoting

Am. Legion v. Am. Humanist Assn., 139 S. Ct. 2067, 2103 (2019)). And in Ramirez, although

Congress had enacted a statutory remedy, there was no standing where the plaintiffs were unable to



See id. at 2211-12.

       Pre-Ramirez decisions within the Fourth Circuit applied a similar analytical framework to the

                                                       though courts varied on the amount of deference

given to Congress. In Dreher v. Experian Information Solutions, Inc., the Fourth Circuit analyzed a

purported informational injury and held that

requires that a person lack access to information to which he is legally entitled and that the denial of

                                                                    856 F.3d 337, 345 (4th Cir. 2017)

(citations omitted). In that case, the court held that the plaintiff had not put forward a common law

                                                                       Congress sought to prevent by

                       Id. at 345-46 (quoting Friends of Animals v. Jewell, 828 F.3d 989, 992 (D.C.

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Cir. 2016)). Courts in the Eastern District of Virginia have differed on how to evaluate whether the

purported injury and Congressional intent combine to establish a concrete inquiry in fact. Some

courts focus primarily on the injury as pled in the complaint and assess whether that injury creates a

material risk of harm. See, e.g., Brown v. Glasser & Glasser, P.L.C., No. 3:17cv703, 2017 WL

5195869, at *3-*5 (E.D. Va. Nov. 9, 2017); Fulp v. Sykes, Bourdon, Ahern, & Levy, PC, No.

3:20cv53, 2020 WL 4926176, at *2-*3 (E.D. Va. Aug. 21, 2020). Others are more deferential to

Congress, and focus on the statutory requirement in the abstract and whether it is designed to protect

a substantive right, and whether that right

right. See Brown v. R&B Corp. of Va., 267 F. Supp. 3d 691, 698, 700-02 (E.D. Va. 2017); Yergovich

v. Small Cmty. Specialists LLC, 337 F. Supp. 3d 635, 642 (E.D. Va. 2018).

         In a series of opinions that preceded Ramirez, the Seventh Circuit adopted a more stringent

standard for standing based on intangible injuries in FDCPA cases. See Larkin v. Fin. Sys. of Green

Bay, Inc., 982 F.3d 1060 (7th Cir. 2020). In that case, the court held that under a motion to dismiss



§ 1692                                                                                         him or

presented an appreciable risk of harm to the underlying concrete interest that Congress sought to

           Larkin, 982 F. 3d at 1066 (citing Casillas v. Madison Ave. Assocs., Inc., 926 F.3d 329, 333

(7th Cir. 2019) (quoting Groshek v. Time Warner Cable, Inc., 865 F.3d 884, 887 (7th Cir. 2017))

(internal quotation marks omitted)). This reasoning is more akin to the reasoning in Brown v. Glasser

& Glasser, P.L.C., which focused on the specific risk of harm as alleged by the plaintiff and not an

abstract review of the FDCPA. Compare Larkin, 982 F. 3d at 1066, with Glasser & Glasser, P.L.C.,

2017 WL 5195869, at *3-*5, and R&B Corp. of Va., 267 F. Supp. 3d at 698, 700-02. Moreover, this

                                                      Ramirez decision, which looked to the particular

factual context of the asserted injuries (there, whether or not the incorrect information was

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disseminated to third parties) when determining whether an intangible, non-common law injury was

sufficiently concrete. See 141 S. Ct. at 2210-11.

       D. Fair Debt Collection Practices Act

       The FDCPA is a statute the provides various rights and remedies to consumers in order to

                                                                               R&B Corp. of Va., 267 F.

Supp. 3d at 698 (citing 15 U.S.C. § 1692(e); United States v. Nat'l Fin. Servs., Inc., 98 F.3d 131, 135

(4th Cir. 1996)). Section 1692e of the Act                                                     , deceptive,

or misleading representation or means in connection with the collection of any debt.

                                                               unfair or unconscionable means to collect

or attempt to collect any debt.              Section 1692g provides a set of procedural requirements

debt collectors must abide by when sending a consumer notice of a debt and upon receipt of

information about disputed debts. This includes the requirement that within five days of the initial

communication with the consumer, the debt collector must send a written notice that contains:

       (1) the amount of the debt;
       (2) the name of the creditor to whom the debt is owed;
       (3) a statement that unless the consumer, within thirty days after receipt of the notice,
       disputes the validity of the debt, or any portion thereof, the debt will be assumed to be
       valid by the debt collector;
       (4) a statement that if the consumer notifies the debt collector in writing within the
       thirty-day period that the debt, or any portion thereof, is disputed, the debt collector
       will obtain verification of the debt or a copy of a judgment against the consumer and
       a copy of such verification or judgment will be mailed to the consumer by the debt
       collector; and
       (5)                                                                           -day period,
       the debt collector will provide the consumer with the name and address of the original
       creditor, if different from the current creditor.

§ 1692g(a). Even if a notice contains these elements, it may still violate the provision if it is presented

in a way that overshadows or contradicts these elements such that it makes the least sophisticated

consumer uncertain about her rights. Russell v. Equifax A.R.S., 74 F.3d 30, 35 (2d Cir. 1996).



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                                          IV. DISCUSSION



       Defendant seeks to dis



               1. Standing

       With regarding to standing, the Defendant argues that the Plaintiff does not have standing to

sue because she has only alleged a procedural or informational injury, but no actual harm. (Mem.

Supp., at 2, ECF No. 6 (citing Spokeo, 136 S. Ct. at 1549; five recent opinions from the 7th Circuit

(citations omitted)).) Defendant a                                           receiving a letter that told

him that if he filed a dispute, Defendant would not negatively report on him to credit reporting

agencies   is at most a bare procedural violation insufficient to establish standing without some

                                                              Id. at 4-6.) According to the Defendant,



                                                        harm. (Id. at 5-6 (citations omitted).)

       RMS argues that Plaintiff has not alleged that the Letter withheld information to which he was

statutorily entitled, nor has he alleged any additional concrete harm. (Id. at 6-11.) Defendant argues

that the FDCPA does not contain a statutory entitlement to information about whether the debt

collector will report a consumer debt to credit reporting agencies, but rather contains provisions about

providing the information regarding the underlying debt. (Id. at 6-7.) Therefore, RMS argues,



common law right to this particular information. (Id.) And Defendant notes that Plaintiff makes no

allegations about how he responded to or was damaged by the disputed sentences in the Letter, other



                    Id. at 7-8 (citing Compl. ¶ 35)).

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       Defendant cites opinions from Eastern District of Virginia and the District of Maryland for

the proposition that a plaintiff pleading an intangible injury must establish a real risk of harm. (Id. at

8-9 (citations omitted).) Defendant then cites a series of recent opinions from the Seventh Circuit

that hold that the victim of an informational injury must allege an actual harm connected to that injury

to have standing, and that an intangible injury is insufficient. (Id. at 9-10.) Defendant argues that

                                  ury is speculative and insufficient. (Id. at 11.)

               2. FDCPA

       Alternatively, Defendant argues that even if Plaintiff has standing, he has not sufficiently

alleged that the Letter violates the FDCPA. (Id. at 12.) Defendant argues that from the standpoint of

the least sophisticated consumer, evaluating the Letter as a whole, the last two sentences of the Letter

plainly did not overshadow the § 1692g notices contained therein. (Id. at 12-13.) Defendant notes

that Plaintiff has conceded that the Letter contained the necessary § 1692g language, and though §

1692g can be violated if the notice is overshadowed or contradicted, the disputed sentences do not

involve the information required by § 1692g. (Id. at 13.) Therefore, nothing is contradicted or

overshadowed because the disputed sentences address a different issue        credit reporting. (Id.)

       Regarding

                                                         to allege how the Letter constitutes an attempt

to manipulate or mislead Plaintiff. (Id. at 14-15.) Finally, Defendant argues that Plaintiff fails to

state a claim under § 1692f because case law indicates that a § 1692f claim cannot be predicated on

the same underlying misconduct as the § 1692e claim, and Plaintiff does not allege any additional

misconduct related to the § 1692f claim. (Id. at 15-16.)




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           Plaintiff opposes dismissal of his claims.

                   1. Standing

           On standing, Plaintiff argues that his injury stems from the violation of his right to be free

from deceptive and harassing debt collection practices under §§ 1692e and 1692f of the Fair Debt

                                                at 8-9, ECF No. 10.)4 Plaintiff cites three district court

opinions from the Eastern and Western Districts of Virginia for the proposition that violations of §§

1692e and 1692f alone are sufficient to establish a concrete injury for standing purposes. (Id. at 8-

10 (citing Henderson v. Gen. Revenue Corp., No. 7:17CV00292, 2019 U.S. Dist. LEXIS 148403

(W.D. Va. Aug. 30, 2019); Drew v. Valley Credit Serv., No. 3:17CV00083, 2018 U.S. Dist. LEXIS

42321 (W.D. Va. Mar. 14, 2018); Yergovich v. Small Cmty. Specialists LLC, 337 F. Supp. 3d 635

(E.D. Va. 2018)).) Plaintiff also argues that even if his rights under the statute are merely



to abusive debt collection practices simply by being deceived into thinking that by disputing the



(Id. at 16-17.)

                   2. FDCPA

           On the FDCPA claims, Plaintiff asserts that the disputed lan                             deceives the



                                                                                Id. at 18.) Plaintiff argues that

this impli

and 1692g. (Id. at 21-22.) Finally, Plaintiff cites an opinion from the District of Maryland for the

                                                                   ct can support violations of both §§ 1692e


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    The Court uses the page numbering assigned by the CM/ECF system unless otherwise noted.
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and 1692f. (Id. at 22 n. 1 (citing Cooke v. Carrington Mortg. Servs., No. TDC-18-0205, 2019 U.S.

Dist. LEXIS 120248, at *17 (D. Md. July 17, 2019)).)

        C. Application

        The Plaintiff has failed to plausibly plead a concrete injury in fact sufficient to establish

standing, so accordingly, the Court will dismiss the complaint. Because Plaintiff could theoretically

plead facts sufficient to establish a concrete harm, the dismissal will be without prejudice. The Court

will not address                           regarding the FDCPA because the Court does not have



                                                                                      that the Plaintiff

concedes contains each of the elements required by § 1692g. (Compl. ¶¶ 28-29.) The disputed

language says:

        A negative credit report reflecting on your credit record may be submitted to a credit
        reporting agency if you fail to fulfill the terms of your credit obligation. We will not
        submit a negative credit report until after 45 days have passed from the date of this
        letter and will not submit such a report if we receive notice that you dispute the
        obligation.

(Id. ¶ 30; Compl. Ex. A.) Plaintiff contends that the conclusion of this letter   "[we] will not submit

such a re                                                           contains an implicit representation

that the Defendant will never submit a negative credit report, which Plaintiff asserts is not true.

(Compl. ¶¶ 30-36.) On a motion to dismiss, the Court will construe these allegations as true and in

the light most favorable to the Plaintiff. For purposes of considering standing, the Court will also

assume that this sentence violates 15 U.S.C. §§ 1692e, 1692f, and 1692g. The issue, however, is that

even with these presumptions, Plaintiff has not met his burden to plead a concrete injury in fact that

is not conjectural.



                                 Id. ¶ 39.) He alleges no facts about any tangible harms and does not

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explain how the disputed language in the Letter impacted his conduct, if at all. Instead, he claims that

                                                                                                    ged

                                                                                                   Id. ¶

35.)

         Plaintiff has not alleged a tangible harm, only an intangible informational injury. (Id. ¶ 39.)

                                            Spokeo and Ramirez, the Plaintiff has only a few avenues

to sufficiently establish a concrete injury. Plaintiff must establish one of the following: (1) that the



of a procedural right, in conjunction with the facts, is sufficient to confer Article III standing, or,

relatedly, (3) that the intangible injury creates a sufficient risk of future harm. See Ramirez, 141 S.

Ct. at 2204, 2211-12, 2214; Spokeo, 136 S. Ct. at 1549.

         First, the Court looks to whether there was an analogous claim at common law to redress the

asserted intangible injury. In the context of                                           Brown v. R&B

Corp. of Virginia recounts the common law history of debt collection and persuasively concludes that

there was no analogous common law right of action. 267 F. Supp. 3d at 699-700. Thus, Plaintiff

must establish an alternative basis to demonstrate a concrete injury in fact. Reading Spokeo and

Ramirez together,

action, combined with whether the facts pled allege a harm or a sufficient risk of harm. See Ramirez,

141 S. Ct. at 2204, 2211-12, 2214; Spokeo, 136 S. Ct. at 1549.

         With respect to informational injuries like the one alleged here, the Ramirez court was clear

       [a]

S. Ct. at 2214. As the Fourth Circuit in Dreher                     utionally cognizable informational

injury requires that a person lack access to information to which he is legally entitled and that the

                                                                                                 . The

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fact that Congress established a cause of action, on its own, is not sufficient to establish Article III

standing.

        Here, Plaintiff fails to allege any resulting harm from the disputed sentences in the letter, other

                                                                                                         ¶

39.) He claims that he was prevented from making reasonable decisions about whether to pay, but

again fails to establish how this intangible injury constitutes a plausible injury in fact. (See id. ¶ 35.)

Even on a motion to dismiss, the Court is not bound to accept conclusory allegations that Plaintiff

was damaged. Here, the Court finds it implausible, based on the facts pled, that the Plaintiff suffered

a concrete injury from the Letter language that merely stated that RMS will not submit [a negative

credit] report if we receive notice that you dispute the obligation.



statu

whether Plaintiff suffered an injury in fact.

        From the facts pled, it is implausible that this statement would create a real and imminent risk

of harm. Indeed, it appears from the face of the Letter that the most likely effect of this language

would be the consumer submitting a dispute of the debt. It is unclear from the pleadings how this

would plausibly be harmful, and indeed, it may wel

complaint is devoid of any factual allegations that this was the path that he took, or if it was not, that

he was in any way damaged by reading this Letter.              This purported procedural violation is

unaccompanied by any actual harm or substantial risk thereof, and accordingly Plaintiff has failed to

establish standing. The mere fact that Congress enacted causes of action under the FDCPA is

insufficient on its own to establish judicial standing under Article III. As the Supreme Court

explained,

        Congress' role in identifying and elevating intangible harms does not mean that a
        plaintiff automatically satisfies the injury-in-fact requirement whenever a statute
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       grants a person a statutory right and purports to authorize that person to sue to vindicate
       that right. . . .[A plaintiff cannot] allege a bare procedural violation, divorced from any
       concrete harm, and satisfy the injury-in-fact requirement of Article III.

Spokeo, 136 S. Ct. at 1549.

       As the Supreme Court recently stated in Ramirez          Federal courts do not possess a roving

commission to publicly opine on every legal question.

the Court to read a Letter he (and presumably, others) received from a debt collector and opine that

its text violates various provisions of the FDCPA. Other than conclusory statements, however, he

does not plausibly allege that he was injured by the Letter. Without a concrete and particularized

injury in fact, Plaintiff does not have Article III standing and the Court cannot hear his case.

Accordingly,

                                         V. CONCLUSION

       For the reasons stated above, the Motion to Dismiss will be granted without prejudice.

       An appropriate Order shall issue.



                                                                      /s/
                                                        Roderick C. Young
                                                        United States District Judge

Richmond, Virginia
Date: August 24, 2021




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